    Case 17-31795           Doc 2502         Filed 04/04/22 Entered 04/04/22 11:30:35            Desc Main
                                              Document Page 1 of 2

      FILED & JUDGMENT ENTERED
             Steven T. Salata


                April 4 2022


         Clerk, U.S. Bankruptcy Court
        Western District of North Carolina
                                                                                  _____________________________
                                                                                            Laura T. Beyer
                                                                                    United States Bankruptcy Judge




                               UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION


In re                                                            Chapter 11

BESTWALL LLC,1                                                   Case No. 17-31795 (LTB)
                                     Debtor.


      ORDER DENYING THE OFFICIAL COMMITTEE OF ASBESTOS CLAIMANTS
     AND THE FUTURE CLAIMANTS’ REPRESENTATIVE’S MOTION TO COMPEL
     PRODUCTION OF DOCUMENTS LISTED ON THE DEBTOR’S PRIVILEGE LOG

           This matter coming before the Court on (i) The Official Committee of Asbestos Claimants

and the Future Claimants’ Representative’s Motion to Compel Production of Documents Listed

on the Debtor’s Privilege Log [Dkt. 2277] (the “Motion”), filed by the Official Committee of

Asbestos Claimants (the “Committee”) and Sander L. Esserman, in his capacity as the Future

Claimants’ Representative (together with the Committee, the “Claimant Representatives”), (ii) the

objection to the Motion [Dkt. 2305] filed by Bestwall LLC (the “Debtor”) and the supplemental


1
           The last four digits of the Debtor’s taxpayer identification number are 5815. The Debtor’s address is
           133 Peachtree Street, N.E., Atlanta, Georgia 30303.


NAI-1528090617
Case 17-31795       Doc 2502      Filed 04/04/22 Entered 04/04/22 11:30:35             Desc Main
                                   Document Page 2 of 2



brief in support of this objection [Dkt. 2420] (together, the “Objection”) and (iii) the Claimant

Representatives’ reply in support of the Motion [Dkt. 2337] and supplemental brief in support of

the Motion [Dkt. 2417] (together, the “Reply”); the Court having reviewed the Motion, the

Objection and the Reply and the other papers filed or submitted in connection with the Motion and

having heard the arguments of counsel with respect to the Motion; and the Court having announced

a ruling on the Motion at the hearing on March 17, 2022 (the “Hearing”);

               IT IS HEREBY ORDERED THAT:

               1.     The Motion is DENIED for the reasons stated by the Court on the record at

the Hearing (which are incorporated herein).

               2.     This Court shall retain exclusive jurisdiction over this Order and any and all

matters arising from or related to the implementation, interpretation or enforcement of this Order.



 This Order has been signed electronically.                        United States Bankruptcy Court
 The Judge’s signature and Court’s seal appear
 at the top of the Order.




                                                 2
